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 8 Attorneys for Plaintiff and Counterdefendant
   SAN DIEGO COMIC CONVENTION,
 9 a California non-profit corporation
10
11                        UNITED STATES DISTRICT COURT
12                       SOUTHERN DISTRICT OF CALIFORNIA
13 SAN DIEGO COMIC CONVENTION,               Case No. 14-cv-1865 AJB (JMA)
   a California non-profit corporation,
14                                           NOTICE OF MOTION AND
                 Plaintiff,                  MOTION BY PLAINTIFF AND
15                                           COUNTERDEFENDANT SAN
                            v.               DIEGO COMIC CONVENTION
16                                           FOR SUMMARY JUDGMENT
   DAN FARR PRODUCTIONS, a Utah
17 limited liability company;
   NEWSPAPER AGENCY COMPANY,                 Date:        September 21, 2017
18 a Utah limited liability company;         Time:        2:00 p.m.
   DANIEL FARR, an individual; and
19 BRYAN BRANDENBURG, an                     Courtroom:   4A
   individual,                               Judge:       Hon. Anthony J. Battaglia
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                 Defendants.
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22 AND RELATED COUNTERCLAIM.
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     4842-9622-5610.v2                                     Case No. 14-cv-1865 AJB (JMA)
 1           TO DEFENDANTS AND THEIR COUNSEL OF RECORD:
 2           PLEASE TAKE NOTICE that on September 21, 2017, at 2:00 p.m. or as
 3 soon thereafter as counsel may be heard, in Courtroom 4A of the above-entitled
 4 court located at 221 West Broadway, San Diego, California 92101, Plaintiff San
 5 Diego Comic Convention (“SDCC”) will and hereby does move for summary
 6 judgment.
 7           By way of this motion, SDCC asks this Court to order summary judgment in
 8 favor of SDCC on Defendants Dan Farr Productions, LLC, Daniel Farr, and Bryan
 9 Brandenburg’s (collectively, “Defendants”) counterclaim for cancellation of
10 SDCC’s trademarks based on genericness and abandonment, and their affirmative
11 defenses based on these grounds. Defendants have no evidence regarding the
12 primary significance of SDCC’s trademarks in the mind of the relevant public and
13 thus, as a matter of law, cannot establish that the marks are generic. Defendants
14 likewise have no evidence that SDCC has abandoned the asserted marks. SDCC
15 has undisputedly used its marks continuously for over four decades.                  As
16 Defendants cannot raise a genuine issue of material fact to support their claims of
17 genericness and abandonment, SDCC is entitled to summary judgment. Likewise,
18 SDCC is entitled to summary judgment as to Defendants’ liability on SDCC’S
19 claims for trademark infringement under the Lanham Act. There is no genuine
20 issue of material fact that Defendants’ use of the mark “comic con” in connection
21 with their goods and service is likely to cause confusion in the minds of
22 consumers.
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     4842-9622-5610.v2                                       Case No. 14-cv-1865 AJB (JMA)
1            This motion is based upon this Notice of Motion and Motion, and the
2 accompanying Memorandum of Points and Authorities, the Declaration of
3 Michelle A. Herrera and the exhibits attached thereto, the Declaration of David
4 Glanzer and the exhibits attached thereto, the Request for Judicial Notice, the
5 records and files herein, and such other and further documentary, demonstrative
6 and oral evidence as may be requested or permitted by the Court.
7
8 Dated: June 23, 2017                     PILLSBURY WINTHROP SHAW
                                           PITTMAN LLP
9
10                                    By: /s/ Michelle A. Herrera
                                          CALLIE A. BJURSTROM
11                                        PETER HAHN
                                          MICHELLE A. HERRERA
12                                        MATTHEW R. STEPHENS
13                                        Attorneys for Plaintiff
                                          SAN DIEGO COMIC CONVENTION,
14                                        a California non-profit corporation
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     4842-9622-5610.v2                                     Case No. 14-cv-1865 AJB (JMA)
1                              CERTIFICATE OF SERVICE
2            The undersigned hereby certifies that a true and correct copy of the above
3 and foregoing document has been served on June 23, 2017 to all counsel of record
4 who are deemed to have consented to electronic service via the Court’s CM/ECF
5 system per Civil Local Rule 5.4. Any other counsel of record will be served by
6 electronic mail, facsimile and/or overnight delivery.
7
                                            By:     /s/ Michelle A. Herrera
8                                                   MICHELLE A. HERRERA
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     4842-9622-5610.v2                                         Case No. 14-cv-1865 AJB (JMA)
